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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                             )
UNITED STATES OF AMERICA                     )       CRIMINAL NO. 3:13CR226(RNC)
                                             )
         v.                                  )
                                             )
DANIEL E. CARPENTER                          )
                                             )       DECEMBER 11, 2017

  MR. CARPENTER'S REPLY TO THE GOVERNMENT'S OPPOSITION TO
 THE DEFENDANT'S MOTION FOR RECONSIDERATION OF THE COURT'S
 DENIAL OF MR. CARPENTER'S MOTION FOR A NEW TRIAL DUE TO THE
   VIOLATION OF HIS RIGHTS TO FAIR WARNING AND FAIR NOTICE

         Contrary to the government's Omnibus Opposition Brief (Gov. Opp.) (Doc. 318), Mr.

Carpenter had no Fair Warning or Fair Notice any of the alleged conduct OCCUlTing between

January 2007 and December 2009 could possibly be declared criminal and against the law a

decade later.

    I.        THE HOLDING IN WEIMERTIS DISPOSITIVE CONCERNING THE
              ABSENCE OF FAIR NOTICE AND FAIR WARNING IN THIS CASE

         In support of the fact that Mr. Carpenter could not possibly have been on notice that his

conduct was somehow unlawful in the Seventh Circuit's decision in United States v. Weimert,

819 F.3d 351 (7th Cir. 2016). In Weimert, the Seventh Circuit Court of Appeals, in reviewing

the issue of materiality in negotiations between sophisticated parties, held that under the wire

fraud statute, statements in such negotiations cannot be material as a matter of law. Given the

dearth of evidence of any crime adduced by the government at Mr. Carpenter's trial, the Seventh

Circuit's analysis in Weimert is directly on point in this case, particularly where the Seventh

Circuit states:




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       Buyers and sellers negotiate prices and other terms. To state the obvious, they will often
       try to mislead the other party about the prices and terms they are willing to accept. Such
       deceptions are not criminal.

       To take a simple example based on price, suppose a seller is willing to accept $28,000 for
       a new car listed for sale at $32,000. A buyer is actually willing to pay $32,000, but he
       first offers $28,000. When that offer is rejected and the seller demands $32,000, the
       buyer responds: "I won't pay more than $29,000." The seller replies: "I'll take $31,000
       but not a penny less." After another round of offers and demands, each one falsely
       labeled "my final offer," the parties ultimately agree on a price of $30,000. Each side has
       gained from deliberately false misrepresentations about its negotiating position. Each has
       affected the other side's decisions. If the transaction involves interstate wires, has each
       committed wire fraud, each defrauding the other of $2,000? Of course not. But why not?

       The ...answer is that negotiating parties, and certainly the sophisticated businessmen in
       this case, do not expect complete candor about negotiating positions, as distinct from
       facts and promises of future behavior. Deception about negotiating positions--about
       reserve prices and other terms and their relative importance--should not be considered
       material for purposes of mail and wire fraud statutes. Weimert at 357-58.

       In commercial negotiations, it is not unusual for parties to conceal from others their true
       goals, values, priorities, or reserve prices in a proposed transaction. When we look
       closely at the evidence, the only ways in which Weimert misled anyone concerned such
       negotiating positions. He led the successful buyer to believe the seller wanted him to
       have a piece of the deal. He led the seller to believe the buyer insisted he have a piece of
       the deal. All the actual terms of the deal, however, were fully disclosed and subject to
       negotiation. There is no evidence that Weimert misled anyone about any material facts or
       about promises of future actions. Weimert at 354.

       Consistent with fair notice and fair warning principles encapsulated by the Due Process

Clause, the decision in the instant case must take into account the utter absence of evidence that

anyone believed the conduct alleged was unlawful at the time it occurred, and where a

distinguished Court of Appeals has explained that even worse conduct was not unlawful. See

Weimert at 358 ("[W]e know of no other case in which a court has found that deceptive

statements about negotiating positions amounted to a scheme to defraud under the mail or wire

fraud statutes. This absence is consistent with more general understandings in the law."). See,

also, Weimert at 370: ("Weimert's dealings in selling Chandler Creek were sharp and self-

interested, but they did not amount to wire fraud .... [A]ll terms of the deal were on the table.


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IDI might have been able to secure a better deal if it had known the underlying priorities of

prospective buyers and Weimert, but that is ... a matter for the corporate boardroom and civil

law, not a federal criminal trial.").

        The significance of Weimert, in light of the lack of evidence of any crime in this case is

made even clearer when the testimony of the government's witnesses is considered. To the point,

it is fundamentally unfair to hold Mr. Carpenter to a standard that no one else in the District of

Connecticut has ever been prosecuted for, when the evidence at trial has shown that no witness

believed that Mr. Carpenter's conduct was criminal at the time implicated. In view of Weimert

and the evidence, this case should be dismissed as a violation of Due Process.

        Moreover, in Weimert, the defendant actually lied to both his current employer and his

future partner, costing each millions of dollars, and some of which ended up in his own pockets.

In this case, Mr. Carpenter did not lie to anyone at any time, and instead of having an intent to

cause "tangible economic harm" to the carriers, he fulfilled his company's part of the bargain

by paying exactly the premiums required by the carriers. As the Second Circuit stated in United

States v. Binday, 804 F.3d 558 (2d Cir. 2015) in discussing the "Right to Control" Theory of

fraud, not all lies or deceptions result in Mail and Wire Fraud:

       "It is not sufficient, however, to show merely that the victim would not have entered into
       a discretionary economic transaction but for the defendant's misrepresentations. The
       "right to control one's assets" does not render every transaction induced by deceit
       actionable under the mail and wire fraud statutes. Thus, we have repeatedly rejected
       application of the mail and wire fraud statutes where the purported victim received the
       full economic benefit of its bargain." Bindayat 570 (emphasis added).

       Mr. Carpenter has submitted a number of cases from the Second Circuit, as well as other

Circuits, establishing that he is innocent as a matter of law of all charges in the Indictment. It is

beyond peradventure that he did not fill out, sign, or send in any of the allegedly false

applications in this case. Therefore, he is unlike the defendants in Binday, who did fill out the

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applications and did, in fact, lie on the applications. As such, Mr. Carpenter appears to be the

only person in America facing conviction for alleged lies on an insurance application that he did

not personally fill out, submit, or even have knowledge of at the time they were submitted. This

is a classic violation of the Due Process Clause and the Ex Post Facto Clause, as the Defendant

would not be in his present situation if not for the Second Circuit's October 2015 expansion of

the reach of the Mail and Wire Fraud statutes in Binday, cited above.

    II.      NONE OF THE CASES CITED BY THE GOVERNMENT GAVE MR.
             CARPENTER ADEQUATE FAIR NOTICE OR FAIR WARNING

          The Supreme Court has stated many times in many cases that before someone is found

guilty of a crime, the government must prove that they knew what they did was criminal. See

Arthur Andersen LLP v. United States, 544 U.S. 696, 703 (2005): "The underlying principle is

that no man shall be held criminally responsible for conduct which he could not reasonably

understand to be proscribed." quoting United States v. Harriss, 347 U.S. 612,617 (1954).

          The government repeatedly refers to the cases below, however, they fail to rebut the

"bright line rule" that Oliver Wendell Holmes described in McBoyle v. United States, 283 U.S.

25 (1931):

          "it is reasonable that a fair warning should be given to the world in language that the
          common world will understand, of what the law intends to do if a certain line is passed.
          To make the warning fair, so far as possible the line should be clear." McBoyle at 27.

Not only are the cases cited by the government and relied upon by the Court obscure, they do not

stand for what the government claims, and they do not support that Mr. Carpenter received Fair

Warning or Fair Notice that what he did was criminal in this case.

United States v. Anzalone, 783 F.2d 10, 11 (1st Cir. 1986):
          Anzalone lied about previous accident and health claims on multiple applications with
          multiple companies to collect excess disability payments.




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United States v. Stevens, 210 F.3d 356, 2000 WL 419938, at *2 (2d Cir. Apr. 7, 2000):
       Workers Compensation Fraud committed by Payroll Services Company for leasing
       temporary employment company. Defendants prevented carriers from auditing payroll
       records.

United States v. Mancuso, 444 F.2d 691, 693 (5th Cir. 1971):
       Involved husband and wife lying about health status and previous claims on their
       applications for medical and hospital insurance. Sentences were vacated.

United States v. Ware, 282 F.3d 902, 904-905 (6th Cir. 2002):
       Ware and his girlfriend submitted false statements on 12 different Hospital Indemnity
       Policies and then submitted false claims and were charged with healthcare fraud.

United States v. Williams, 545 F.2d 47, 49 (8th Cir. 1976);
       Williams purchased multiple health, accident, disability, and hospitalization policies and
       then submitted false claims to collect "easy money" from carrier.

United States v. Minkin, 504 F.2d 350,351 (8th Cir. 1974);
       False automobile insurance claim that car was stolen and damaged in a fire.

United States v. Sanders, 187 F.3d 650,1999 WL 439415, at *1 (9th Cir. Jun. 22,1999);
       Fraudulent applications and false claims on a Truckers Liability Policy. Defendant
       knowingly misrepresented the number of trucks he intended to use under the policy.

United States v. Wardwell, 56 F.3d 78, 1995 WL 330756, at *1 (10th Cir. May 25, 1995);
       Another "Unpublished Opinion" or Table Decision as government refers to
       it. Automobile insurance - false claim that Jeep had been stolen.

United States v. Colwell, 140 F. App'x 64, 65, 71 (11th Cir. 2005);
       Another case not selected for publication. Workers Compensation fraud after insurance
       company cancelled coverage.

United States v. Corey, No. 3:04-cr-349(EBB), 2006 WL 1281824, at *1 (D. Conn. May 9, 2006)
       Defendant filled out 28 life insurance applications on his sister Joyce Corey without
       telling the carriers that his sister was a heroin addict and she did in fact die of a heroin
       overdose. He caused $2,400,000 in fraudulent death benefits to be paid by various
       carries. He pled guilty to mail and wire fraud and insurance fraud but challenged the
       forfeitures.

       Therefore, since the government can point to no case that gave Mr. Carpenter

constitutional "fair notice" or "fair warning" as required by the Supreme Court's unanimous

decision in Arthur Andersen, and even the ex post/acto judicial expansion of the Mail and Wire

Fraud statutes under Binday happened eight years after the alleged conduct in this case, Mr.


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Carpenter respectfully submits the decisions in Weimert, Countrywide, Finazzo, and even Binday

all support his argument that the government's allegations in his prosecution were an unjust ex

postfacto over-extension of the Mail and Wire Fraud statutes that should not be countenanced by

this Court.

                                       CONCLUSION

       Because Mr. Carpenter received no fair warning or fair notice that his alleged conduct

was criminal at the time that the conduct occurred from 2007 to 2009, this Court should grant

Mr. Carpenter's Motion for Reconsideration and dismiss his Indictment as a violation of the Due

Process Clause and the Ex Post Facto Clause.


                                           Respectfully submitted,
                                           Defendant, Daniel Carpenter

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ORAL ARGUMENT REQUESTED




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                                       CERTIFICATION

        This is to certifY that on December II, 2017, a copy of the foregoing Reply was served
by email to all parties by operation of the Court's electronic filing system or by email on anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court's CM/ECF System.

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